                 Case 2:13-cr-00052-TLN Document 25 Filed 10/29/13 Page 1 of 3



 1 SCOTT N. CAMERON (SBN 226605)
   Attorney at Law
 2 1007 7th Street, Suite 319
   Sacramento, CA 95814
 3 Ph. 916-442-5230

 4
   Attorney for:
 5 DERRICK DAVIS

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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:13-CR-00052 TLN
12                                Plaintiff,               STIPULATION REGARDING
                                                           EXCLUDABLE TIME PERIODS
13   v.                                                    UNDER SPEEDY TRIAL ACT;
                                                           FINDINGS AND ORDER
14   GILBERT ARREAZOLA and
     DERRICK DAVIS,
15
                                  Defendants,
16

17
                                                STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, defendant
19
20 DERRICK DAVIS, by and through his counsel of record, Scott N. Cameron, and GILBERT

21 ARREAZOLA, by and through his counsel of record, Michael Bigelow, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on October 31, 2013, at 9:30 a.m.
23
            2.      By this stipulation, defendants now move to continue the status conference to
24
     December 12, 2013, at 9:30 a.m., and to exclude time between October 31, 2013, and December 12,
25
     2013, under Local Code T4. Plaintiff does not oppose this request.
26
            3.      The parties agree and stipulate, and request that the Court find the following:
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28          a.      The government has produced discovery to the defense in this case which consists of
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                 Case 2:13-cr-00052-TLN Document 25 Filed 10/29/13 Page 2 of 3


     292 pages of written or photographic material and 9 compact disks of recorded audio materials.
 1
            b.      Respective counsel for each defendant desires additional time to review the document
 2

 3 and audio file discovery, consult with their client regarding the discovery, conduct investigation, and

 4 to discuss potential resolution with their client and the government.

 5          c.      Counsel for each defendant believes that failure to grant the above-requested
 6
     continuance would deny defendants the reasonable time necessary for effective preparation, taking
 7
     into account the exercise of due diligence.
 8
            d.      The government does not object to the continuance.
 9

10          e.      Based on the above-stated findings, the ends of justice served by continuing the case

11 as requested outweigh the interest of the public and the defendants in a trial within the original date

12 prescribed by the Speedy Trial Act.

13          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
14
     seq., within which trial must commence, the time period of October 31, 2013, to December 12, 2013,
15
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
16
     because it results from a continuance granted by the Court at defendant’s request on the basis of the
17

18 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

19 public and the defendant in a speedy trial.
20 / / /

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                 Case 2:13-cr-00052-TLN Document 25 Filed 10/29/13 Page 3 of 3


            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 1
     the Speedy Trial Act dictate that additional time periods are excludable from the period
 2

 3 within which a trial must commence.

 4

 5 IT IS SO STIPULATED.

 6

 7
     DATED:         October 25, 2013
 8
 9                                                /s/ Jason Hitt___________________
                                                  JASON HITT
10                                                Assistant United States Attorney

11
     DATED:         October 25, 2013
12

13                                                /s/ Scott Cameron
                                                  SCOTT N. CAMERON
14                                                Counsel for DERRICK DAVIS

15
     DATED:         October 25, 2013
16

17                                                /s/ Michael Bigelow
                                                  MICHAEL BIGELOW
18                                                Counsel for GILBERT ARREAZOLA

19
20

21                                                ORDER

22
            IT IS SO FOUND AND ORDERED this 28th day of October, 2013.
23

24

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26
                                                              Troy L. Nunley
27                                                            United States District Judge
28
                                                        3
29

30
